Case 24-10245-JTD Doc609 Filed 12/17/24 Page1of4

UNITED STATES BANKRUPTCY COURT RECEIVED |
_ DISTRICT OF
DELAWARE DEC 10 2024

DELAWARE DIVISION
LEGAL SERVICES

Case number 24-10245-JTD

In re: SIENTRA, INC.

Filed: USBC - District of Delaware
Taxpayer number: XXXXXXX4081 Sientra, Inc. etal. (COR)

24-10245 (aT)

CLAIM #54 ‘ 0000000013
° PRIORITY PROOF OF CLAIM

-~  - ‘Name of Creditor: Texas Comptroller of Public Accounts pm tee

Send notices to: Office of the Attorney General
Bankruptcy & Collections Division MC-008
P.O. Box 12548
Austin, TX 78711-2548
Phone: 512-463-2173

1. DATE OF CLAIM: 05/09/2024

2. TOTAL AMOUNT OF CLAIM: $ 2,000.00
FRANCHISE TAX CH. 171

3. DATE DEBT WAS INCURRED: 01/01/2024

4. THE CLAIM REFERENCED ABOVE IS HEREBY WITHDRAWN

Date: 11/25/2024 Cathume L. Coy

CATHERINE LEDESMA COY7

Accounts Examiner

Revenue Accounting Division

Texas Comptroller of Public Accounts
512-463-4510

Penalty for presenting fraudulent claim: fine of up to $500,000 or imprisonment for up to 5
years, or both. 18 U.S.C. secs. 152 and 3571

Form 00-359 (Rev.8-19/7)
Case 24-10245-JTD Doc609 Filed 12/17/24 Page 2of4

TEXAS COMPTROLLER OF PUBLIC ACCOUNTS

PO.Box 13528 + Austin, TX 78711-3528

11/25/2024

SIENTRA, INC. CLAIMS PROCESSING CENTER
C/O EPIQ CORPORATE RESTRUCTURING, LLC
PO BOX 4420

BEAVERTON OR 97076 0420

Re: Taxpayer # XXXXXXX4081
Bankruptcy Case # 24-10245-JTD
SIENTRA, INC.

Enclosed is the State of Texas’ notice(s) of withdrawal for a Pre- -petition tax claim in the above-
referenced proceeding.

Enclosed is a second copy of the withdrawal(s). Please stamp this copy with the date filed and return it
in the enclosed self-addressed envelope.

The Office of the Attorney General is representing the Comptroller of Public Accounts in this
proceeding. Please direct all notices and correspondence to:

Office of the Attorney General
Bankruptcy & Collections Division MC- 008
P.O. Box 12548

Austin, TX 78711-2548

Thank you for your cooperation in this matter.
Sincerely,

Cathume L. Cog

CATHERINE LEDESMA COY

Accounts Examiner

Bankruptcy and Liens Section
Revenue Accounting Division

Enclosure

Form VT-360 (Rev.8-19/7)
Case 24-10245-JTD Doc609 Filed 12/17/24 Page 3of4

Comptroller of Public Accounts - LBJ USPS CERT! FIED MAIL

111 E 17th St
Austin TX 78701

9214 8901 9403 8390 0229 05

SIENTRA INC CLAIMS PROCESSING CENTER
C/O: EPIQ CORPORATE RESTRUCTURING LLC
PO BOX 4420

BEAVERTON OR 97076-0420

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